            Case 2:11-cv-02821-AKK-HGD Document 1 Filed 08/11/11 Page 1 of 12                                                         FILED
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                                           IN THe U.3. DISTtUCT er3.                                                         U.S. DISTRICT COURT
                                       'OR THE          ~.   DISTRIct or AL.                                                     N.D. OF ALABAMA
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17.               fl.e.,. aOUSi;;S tu'PROXI:,tATeL'i 21.)0+ f)~ATH ROW li'4HATES, 

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20.             O~ OR .\£k)U'f JUr./l, 2004, AL.D.v.C. uOCTOi.~S Ol;;;CQt~trINUl;;tJ 

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U.:.i. SUjliU::,>1£ COllRT u'OI:':X, ALAe"",...,,, ;4~:~rl' t.A~ t>tGeSl' I IlORlJS " 

PHRAS.t:~, E'tC. 

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30.           o.C.i:"" ;,)tiATH ii.JW lr~:"'ATes HA\11~           OitAN'raO GiUCAT
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        Case 2:11-cv-02821-AKK-HGD Document 1 Filed 08/11/11 Page 4 of 12



32.        jtftiEN £GGEaS BEGAN iU;;S&AlitCUlCm 'I'd€: f.,Aif l~~ 2\){i4, i>OCKe'f.'
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tivUI.U R&'fUIUt "l.'lrl A i~r:;':JUt:'STf;D CMn~.
37.          LAW CLi:j1(K~ HAve Af.,WAYS PLA:ie.o t\ r"t:~t'fk;iJ R.OLE:1\'l' D.C.!'.,
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lSGGCKS COULD r.;Jl' A.Q'i'v~v '~H ... POSTA';£: 1'0 HAVi,HJ 3UPi?t.n;.;J tlZTiJRN­
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39.         ~GGEnS HA";; .1ADf.: ~"UM.i)R.oUS NO'r'i"ICATIOi~S , Rfr.:",Jl!:STS
Tv AL.O.O.C. Oli'i L\;eR;:i IN CHA.RG~ o;?' Tau; LAw 1100;(::) 'fUAl' ?OCl\f:1'
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UiJ TO OATE.
40.             iroGia.;i ~'iA~ AKiH'fl-lALUJ.,1 O~i'41~0 AC';;;:::13 1\)1\ i!~Ui>icrto~iAL
1'Y"i.{WRl1'.i~,     i     T¥PIb4~         itliJSON.3, aoweV&l, WA.i             ~I.H~UTrlSor,J           tlAVl::
A TY¥t;;lIa\ItZf( i aI&lOON;.i OVNA'i'e;:O 'fO Trig OBA'l'H Rmi ttHl' l:il ONE
S.U dd~kROO, IN 'fHil: Y~AR vi? lOUd.
41.           THSSi: ~'iERa TOO~3 :ieCgSSA~Y Hl 'hie f..EQAL ~ROF~.:i:knON
'to t.:i'lf~C';:IVgL~ila~S£NT $. PL~AD CLAIl>1,s TO THE COURT:> aeAOILLt
ACCC£iSISL£ TO ALL                  o'rm~t{    Ar.l.O.O.C.      ~RlS()NlikS          Slt'itLARLlt SIWA'fttO.
4 2 . I l f ~ooel~.s REeJU£<;S·Z'i&il ff£osaAL iiA3ZAS CORPUS ;:A~&;j IN
'ld.i\ i'~O£RAt. il2POln:i,iU, ~G~S~l::; ;,roULt:J USIJAI,LY N~T RE~tHV~ "'Ht: CA5ia.
43.            t:GG~$tacau:.il'o!(e riA;:; })21;N C')H?Et.Ll"::O 'I':;' nZ~t;:\l~ ;.H?.Jl'4
A 24101 puaLICA:t'ION ni Nii.:!<I3 Lli,1tlS, r&ot:RAL HAa~A$ C·;.JHi?US
PRACllCit " ~a.uceDUa& £r~OR WJ::tT ALL 0[' iUS tteSCARCH 1,{ CR{Z"'1.tNAL
MlIEALS.
44.             IT       ~HUULi)              ;KrX'l:;O, THAT 5iG';Ii;;Fi.;)   ~lA::J   H.);J5L:~   l;~   A I>Ji{N
WIUen HAD A O&IfEC'rlV~ t.t.(;O:', oft \iUl'!!<I Ii.' RAl:4EO, SHl:!I!l'rS Of' f{.I\Iil
wAT£R nOtJI.D FALL F.iO:l "rHi CeILING, FLOODING OlJ'f 'tHI4.: OORr'l & £GJeRJ
CELL, O£STROYl[>dG ZG::ii;R3LIi;;';AL OiJCUIU:.",rfS Ot.; 3GV'IS~~Ar, OCCAS,ilOi'iS.
'fEllS CONO.l'tlO~l &1iIS'l'£O 1'rlD.,1 i'l!:ll~UArrt 2003, JrffIL 'rH~ ~~OOf i'~AS
RfiPAIaeu ti.i .a.I?T~lSL:~ :U.ll O.
45.           NARD£N HICKS Wit.:> AS$IG~~U TO D.C • .r~. i .Ht LAl'1:: iEdiUJAIl~
2011 ,NUS £.Ail CLt;aK;; C"X1J\J t'~, .i!'ILI1Ki CAiH.i'.Z t, & Ol'ti~i~ 3UtJ?t..U::S
wsaIL aSMOViD            ~I.iOI'1   Oi'F   (J~rHg      DrlATtt \lOw HAttL,>lAt,           LI::~AIJINGrHE




                                                           (4) 

         Case 2:11-cv-02821-AKK-HGD Document 1 Filed 08/11/11 Page 5 of 12


LA-II OOOKS.
46.           ON 'tHE SAME OATf.5;, AL.D.O.C. OrFICIALS CONtJUCreO It.
PtUcSON SiiAia:;L'01fN, Rt::HOVING INMATES PROM THEIR C&Lt., S£A!(CaUfG
1'HI Cli:t,LS, c.:ONr'ISCA'lING lIt O~6TROYINGrHE PERSONAL PROPUTY .\\
Lt::GAL DOCUMENTS Of' EGGttRS & OTHli.:.R l?R I:'>'cX'iC..U i.
47.           AL.O.U.,C. OfFICIALS fiAO F.GGERS STRIP DOWN 'ro tns
BOxeRS & LI~m ;jp AGAI!IIST A ~vAt:,L APPROxtHA rgL't 30+ FEr::l' AllAY,
loiO AS EGCi£RS COOLD NOT 10griTIr~ Tal! OFFICIAr." VIOLA-flING ISGGERS
RIOtfTS.
46.               OFFICIALS ~mur..i.) DE::jlRO¥ $Ul'·U;                mi'   c.vGE:itS ART SuP?LU!S,
I LeGAL OOCl1~eNTATION,rA}(tNG ~GgR$ i?r~RSOliAL Li:GAL PUBLICATIONS,
A NATIONAL Gf:tOGRAPIHC MAGAZI~eS, HO~'WBR, vr'?ICEit FREEMAN ''''OULD
aftURN !GCa::RS ll4ACt(S LAW OICTI01'fA~Y, , Pi!Rt-ttTTEO C:GGERS TO
OONAT2: APLJROXIMATeLY 150 cJJ'\ttcnAL GEO<;IlA.£>HIC:J 'ro THt: Of;ATH RON
OA)!,ROOH 'OJ;{ CO~t:jmNIT:l USE, 'mIca Iti:!MAIN 'riiE~U;Jtll~aIS 9TH WA'1
OJ! ,,\oaus'l', 2011 ..
4~.            ON THe SM1~ DA~, OfFIClt:HS £U£i:40VEJJ 7 OTHeR t.MI iJOOKS
raaH ~GGeas :::CLt.. .t?U~TAIN I:'iG 'ra iG:'JERS vF.ttOr~3 A?peAL 1m teu ~iA3
DUE IN Tae: ALABA!'4A CQU;(T OF CRIMINAL AP.PAlALS rJ~' 03-17... 1"
X~~l~OaMtNG EGG!~RS THAt Hf5 ';IA3 o:"t.:t PORtiI'r"reo TO HAVE 'f.LU:!t IJA:l
noo~~s " OR PI!RS.J:,tM.. p:;,mr..l'::A't'lJN£.i AT '\~I:t Ot~e TI~1l::"
50.            ~'aT:!OUr Taf~ LA:t' :lOOKS, EGGl'.RS w.Ml CO:''1J?i!LLEO 'ro U*ILE:
A}i APPEAr" ~nTUOlrr CITIN:..t APPROPRIATE CAse LAli, Flr..F.!O tN ?n.C),l't<;ST
ON 03-17-1"              AS   E~GERS        wAS PROCEEOING PRO 5E ON                APPEA~.
51.         ON 03-.2-11, IN RESMNSE TO EGGERS APPSAL i1'ItItD It.
PdOTaST, THE AL.'BA!'<1A COOf~T OF CalM-tHAt; APPEAL:"; OFFEREO g/).:.iilZRS
TliE AGiU:srANCg Of! Ar'POINTeo ;\PPBLLA'rE cour-rser., sge !!i9!!S.!
"~A~., ca-l0-0222.
541.        ON 03-23-11, 6G;,~eaS WI'l'UOUT ACCr:SSfO CU~!-U~NT CA.:;!.! 

LA." WAS COl'lP5LL~O TO ACCEtJl' COUNSEL. 

S,}.              ON 04-03-11, Tift:' At.ABAr-1A COURT orr CRtrHNAL ""PEAr,S 

Ai?90INTiO HONOKAo£"& SHAiiON HAACK TO A!hHS'1" BGGf:ilS ON "?P8~t,. 

54.            itO~OtlAaL' HAACK lr1r>leDIATEf.,¥ BEGAN l?~ovtOING INEFP$CTIVE 

ASSISTANce '1'0 1!:GGERS, Rt:l'OS INO '00 Mell' iliITti gGGP.:R5 TO INP'Oi.(M 

SGaStlS Oit HIS tUGd'fS, ,. ADVISE 8GGI!:aS UPON 'l'He LAW. 

5:;.           A/TiCR rWtiER()Ug 'dIU'r1't:;;-.; EU!QUes1'S 'ro ilAACK & 'fBI:! ALAaA~lA 

A*,,~ELLA'ft;; C1)(JR:1', ~AACi( Ai.ittE;r;iJ TO "iERr ~yl'I'd e;GGB~S ON 05-04-11. 

So.             ON 0;:'-0<1-1"   3GGt:a:tS Mer Wll'd UAACA A'1' D.C.,"., &l.'dOUGti 

IiMCA SI.JNt-;i.) A ae:~!aAIN'r.s NAIVEa fOiUt Iw TH£~lAROtf;NS O"ICf~, 

U~oN Iti;t'OnMATION ~ 8£ [':U:'." ,Ol'.c?lCER ii,ll..L, & SG r. i)~Ali tlt::F'OS6u 

1\) ,aet10Vt.i. BGGCiRS UA.:fOC\H.'?S so Ag ~GGiiillS cour..u ~aOOUC'rlVE!,'i StlU'Ft, 

1'ltaO\)t-;a VO(,UMINVUS t?APE~td ,& lWIOEl"CE TO prU~gE:NT '('0 COUNSEL.. 

5"1.              U(j"l'. Dll:Ai...   Otli'gEU~O    NO &XP(,ANAT lOt. t;:{Cet?T         "'ARj)g~S   HEKJ..e 

SJr.ID 1'Hi: CUlfit"$ S'tA'i          \)\~. 

Sa.            IN 'triG        8i
                              :{i~l'il.$ 'tnA'r EG<H'.RS HAS iJSri:N IiOU::)i:O A'r D.C.". 

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nUi"Ol-trl03 Ol! ttfillVIDUALS ON At LIlA3T SOO Oh"Ft;R~Nr OCCASSION3, 

IiliCLUOtW,l tu\w "~Qi?~$.30RS, COLuSGR STUO';lfTS, " Ri:![,IGIOUS GROUPS 

rfUO HAvE:       dlg~~    i?lf:RillfTfS.0 TO       ~tiT1i.;R   'fua Oe.A'fH Rm'l   l.)Olt~. 

5!t.              ~GGf~~S      HAS A t.Isr Of A1" LEAST                 ~o   NAru';S " AO;)iU::SSE$ 

OF 'raos~        lW>tvtooALS. 

60.        f'.H;10N ()eF lCiAr,S Af D.C.it". SHOU~D (!AVf; THE: t-fAHBS OF
THA:i   R~S'l'
          WU\,) HAVE GAINi-W i~N'rRANCE '00 THE [)f;ATH Rm'l UNt'l:.
61 •       v~1 0 :'-1 2....11, CA1?l'AU. "few, (!" lRST NAHt-; UHKNO¥lN), 1 S3UtitO
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'toOISilOSE OF Cu(UI~CA'r~D PRO~t-:ii1'1 OR 'fHE PH,(..h ?ERfY WOlJLD df:.
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WHICH eGG~K3 DOSS NOT HAV~ ACC~SS, THOUGH IT MAS BESl'i iU!QUlSs'reu.

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            Case 2:11-cv-02821-AKK-HGD Document 1 Filed 08/11/11 Page 6 of 12



oJ.           A.l!pr;t..LA1'E CvU~i~t-~L HA:::> CON'r rthHWro t'i't'J1i lOt: e:)G~:[:\S 

Wl f rH INiU"!$CTIVf: AS5I:.il'ANCt.: IN T~E Al:'.?t:t.ltAlb: (!l.:Jvk'rS, 1:Hi:!fU.irOkF.:: 

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06-00-11, aGGaas V ST"                                 CR-10-0~22. 

6J.                      ()N   06-20-11,             "I:iiB M ..AHA,"A C{}d~.l' ;'J~' <.;~ [,'IHNAt.. A?~ltAL,j 

l.;)3U1.1;0 AN           lJRf)g~(     'J'rA'l'ING      'l·tH.~   ~·Ot.W,JIN;~.,: 

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                                   litl\ l' u.H I. t., 'i'dIS COUtd' I-J1~iJ~~ A:.• i..JrtVt:.t< AtoLt)'h It-a:;;;
~ltAlii':';~"     HA.l\Cif. TJ .'IIfHD{Mw, ~h. SHAl..L di:'1AIH A~i:"f.;t.LArt.: C1JiJi;;Si;;L,
                              .:1) l'ftA f t;,~l.;::;l\':;' i..;v..;LO t';ITd'l!:i( ~RO'::::i';D 1"1l.'fh ttAAC~\,
(lm~t'·t-·t~,;.:l'j.Vt.;"':IJUl'i:ih.(,), Ji:( ',vi-\lVe A.,a?;JLAfic~(J CQU;:4St;f., &, i..'fHy..;el::O
"1(0     .':ie,riowt.VC;tot, t:,;;..;\.it:;.!'t;:J i~,)UI~O !;JI.:; tU;':';lr'O:~:..,t0.)I.. ~ P',)I( Ar..r., 0:" fit:.;
O~N      L~GAL aEaEA~CH , CA~~ CITATtoaS OF L~~,
                             ;,;) 1'lfA1' U' ::::;::;:::11,:;, £.Ill'.! ,.I.\Ilit; C()U.J:)t~L.. ,~~~'l:J:~;R;'; ~\)ut,O
~lO'l'   dAVi<: Pi, :-U;::;;k{f '['0 d.~,V/."; ~m(!CE:iSOit C,)YJt~::i~r. ,~?Pt)H/'rED A:t' ,'\t.,\'Nn

                                    i.I)   ttl'
                                           :;UG':':t;::;:il,h~ CvuN;;;Gt. .iA.;; Ai'!:")fN1;'t:;Lt, l'H~YtiuLiLQ
N..)'f   bi~      ~~~H{rTt;;I.l'fiJ      C:)::UP':'CT A.Nl: OOCUz\1t';I\f'rs .l!tf,t;D ~~o Sir.:,
                                 i. J 'l'W~ r ~;:;,;.»ea~ i."iJ~r ~KO\l tL..H~ A .,h"( 1. r i'~l4 JOCU,it::~n'
••AI w' .lL~iJ ~;ji.l~t~a tt (Citt'rev ,i\]?:).tN'n:u COU£>4:i ""t"
. . . A:i TrtE ,.:uu~ I iU~FU:j!'~Q '1,"J l?~0V tu~ A RIJ[,!NG 'jt.h:)r1 BJ-':;i::f.C::i '1i.rrt{)·~.
64.                t,;'::;"';'::RS w.,~ C)\·iPt.;uL,l!.;,J fD .:;;...) .t~Ott.,,~I\:U rHfd IN~i't"C;CTlvi1: 

CUU,)i,"'~I.t, N,O'1' ijJW'l~l':; ACCEJ:'i ,t\) TUt; 14 \ ; " Bv-.Ji:;S ::. rdt.~: Cot.JlU:; AT 

'friATi: '~"i.(. 

i5.                      UN    Tlj~~~OA~,             Oa.2J-l1,          ~AdD~~      HtC~s        ~~~P0R~~D         A     CUR~ORi 

INS4.:'~C'rLlJi'*       OF 'f:it;; C;;.;Lt.:;;i uN J~ATH aQ!~, INii'u~:H.:'<lC; i::Gt'#el{:j ~ ~n'.H::K::; 

riiAl' i.i£Vf.:t\,\L ..)1,1' "L'~it; c;t:.a:,r..l::;·it;;R~ !ii Vtll~Al"IO~~ vi" <~t..W.O.C. 

it':::;GUf..A'rIm~,j,          rr.,l~.,rJn) t;'.;':'lCA.1'~ ~mt~!t CBr..r.. \~i\i iN Vli..J('A/.n:I,.H~. 

(,)6.                 dLC1\'s .:j'{'Af\iL) {liAr LmAn:~'~ ~il:.tu~,;')1.~::'l !h:.,{:H1.'l't;IJ ttl) .Ll\vL 

J I,J..:at.-." Oc~L.t:':..iht. ;,.h..,h;;U:·;<:.;'rrA'n,)I'~ IJti &' .:::tJ,(.Li:'" r~l 1'1 . ;."1.1'1/..1;.. {,'i 'l'dt.1.t 

CC:L.r...;;;, 5't'Arl~i;;; 'l'ltA'l' dt:.: .~.Jl.JL..') !(!~'nJi~;:~ LJ 1 ,~t;:..." .H fdA S:';Ai{C:! 

 rt:A;,lro ~~t.Ic? ·r.it. ?~ACL Jit',;;;;! :)l.:;: !Ji)lf,j;~ i .D '(':J~\ "jUUf",D a~~ r~t::l:'~r
Util \J iH~ !l;l.:' •
67.                   JI!'t,:.~ ;;;·~.JH:';A.KJ ~JiJl, tN,1A.ft:3 AJ.' 0.:"':.'::'. dAiJ8 ;ji;;;;;;;N
i?t;i~Ki.'rL'';:;/) '!,O:lAL~fi'A.tN ·rH.oU8AI~O';;; Ob" i?t\;:a.!S Of? L.!';'l;AL t)OCIJ7'iCl>it'Al' [{)N
iiIJLrI~t..r.; IdCtt.i,;'; IN lkil\':~'Ut,;;;i.;';.
od.                   vt.mrm; 'l'HGSr;: ':;:"A::((;j!;l!;1, "c..u.O.C.J,:'i·l....:;Ii\f.,S l)r'I'ii;~tLY
0E.il',;(\;'X C'''::.{~O:''AL. r;"05SE;;.i:;(O>i,j .~ LikGAL ijOCU'1t;;\~ 4\\ r £0;!, t~'J!:::;j '['ijvS:i:
~O$~J;;3SI;••U·::1 ~nn,{,;~: i.:.;.:Jl.;f;;~d ;H\.; i.>r.~N G:'~Ar4Tr;o ::h?t:I.;n·IC ~E!?·lIJ:'UO~i
to .\ZCi!:I\I~~ 11. f{Z\.:3 ;.;jI·:;;·H':;3 A CdNfaACl' .'GR!!:':!:vletrf .v.:(,·rt'AtN:'::;;; {'i.'tf
v'1.                            HAd ..j,-:';,.:.i'l G~A=n;~j) l?~~YU':)S !),~ 'l''.) ,{::':':~IVcl PAIH'I I
CAN'\i'i\;j;;jr.:;;:»,              :. wG.Jl.iCrtAIt~T 3UPt?l..[t;:), ;'l,'M::VI':,{, (H!l1'l{:r,\LS
                           Bi-tU'>d~::>,
s\a~I'l'rtA~Uul: iU~[tU;;ji! i\) pe;ii:Hl'EGCt:;aci ro HAiI.-:: A~! A~t?fH)v~D .>lOOD
Ci.rrrt~,.o I~~S'rRfJ·(,t;xr AS ,,)}>iU'{ b<tlSi()Nt:;.:{;l td LI:\i:': t;t~i':U;. tj'l·t\~;C~;:;
Aft!!; P~;{:'l.!'rTED TG i.u::rUV:i:.
70.                         ;;i 13 th.trA. ;,i:;A'/g~, UNA13Lii:: r() CUT :1'JOO I'f I.·fH !itS
1't.:.!:.:'tH, & U'" t:;';';;t;~ci IS CAjJ),jHl' \'U:'fH A \100U CUl'l'l:JG (N:]'rm";·'H::N'f,
11' ~KJJJ4D LH;'; ~(£Cv;:;tHZt::;J ,;':;..?;UaON C()~n'RABAN:) ~ 1:;;;~r:.;;a:J flour...u ~..·AC~
0ISCIl?LINAt~1                 ACt.em.
71.                        S MA$ $1~4CE !)1~l?u~~D Of AI.,!, tfiJ,);) ~~viJiJt.:'f:;; .mIen 

tit!: ilAS ~~;;("'1IT'rr.;;) '1'0 KLCt;IV~,w~Uca UIJ rA~U£.. Y llAS Sl?e;:~T HtJ.:.(()iU:D3 

OFUOLLAa:) 0;1 '1':) ;;;'U;~(.:d·f\:Jt; ;:. ~;:HP?!~"; .\ dA:it>t.r;i:.:;f') l\ViH;) 

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72..                     ;;fAI) e:;:;i'!:R;;      i~:~i),lN   :J! ;;UC,J    aI:)~{S,                ':;HO~Ji"Lj\I'.)t'     a,<\v!~ 

ORW:;!H~J        ..\ i\~~C~H\'t»rift,;.')                :.~:J€.'fr tOt~A ~Le    l\,.J1'U:';,{ c:: ~»   PI:::H.L)WV.. 

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73.       ON 06-23-11, EGGERS t'1ROTE A THREE PAGE LETTER TO PRICE,
THOMAS, & GOVERNOR BENTLEY, INFORMING THEM OF THE Fl\C'rS,
Rf!QU~STING:
                  A) A COpy OF THE AL.O.O.C. REGULATIONS,
                  B) 'fHAT THE AL.O.O.C. CIRCUMVENT THe: A.LLEGED 

AL.D.O.C. REGULATIONS FOR GOOD CAUSE SHOWN, 

&                 C) TAKE ACTION walCH SHALL RESTORE EGGERS RIGHTS, 

14.         ON 06-27-11, EGGERS FILED AN APPLICATION FOR A WRIT 

OE' MANDAMUS IN THE ALABAMA SUPRE!1E COURT,      ax  PAWn BGGB. . , 

*1101246, SEEKING AN ORDER DIRECTING THE ALABAMA COURT OF CRIMINA 

APPEALS TO APPOI~~ SUCCESSOR COONSEL.(THAT CASE IS STILt. PENDING) 

75.         ON 06-29-1" THOMAS, PRICE, HICKS, & DEPUTY WARDeN 

GORDY ENTEReO & MADE OBSl::aVATIONS AT D.C.F. OgATH ROW, U-DORM, 

HOY1EVBR, P>1ADE NO EFFOR'f '1.'0 SPEAK WITff EGGERS ABOUT EGGERS 

CO?1I?LAIHT FILlm. 

'16.        ON 07-01-11, OFFICER DAVIS, (FIRST NAr-tE UNKNOWN), 

E~CORTED LAW CLERK JONES '1'0 EGGERS CELL INFOIUHNG EGGERS THAT 

THB AL.D.O.C. wAS CHANGING S.O.P. REGULATIONS, "THAT ALL IjAW 

BOOKS WERE BEING REMOVED l:!'"ROM THE PRISON·', & THAT CASES WOUl"D 

BE PRINTED UPON PAPER AFTER A COMPUTER SYSTEM HAD BEEw SET UP. 

77.         EGGERS WAS DENIED WRITTEN LAW BOOK REQUESTS, & AGAIN 

DENIED A COpy OF THE: S.O.ll. REGULATIONS IN EXISTENCE AT THAT 

THIE BY JONES. 

78.         . EGGERS ReQUESTED OFFICER DAVIS TO SUM.MON A SEGREGATION 

COr~DER, HOWEVER,       IT WAS APPROXIMATeLY 4:00 AM, & THAT REQUEST 


&,.
WAS DENIED.                                .

               ON 07-01-1', EGG~RS ATTEr-IPTED TO SPEAK ~qITH SGT. ~qA.TTS, 

(.f'IRST NAl1E UNKNOWN), HOWEVER, EGGERS WAS INFORMED THAT THE 

ISSUE WOULD No'r BE ADOR~SSED UNTIL AFT£R THE 4TH OF JULY, 2011. 

80.            ON 07-04-11, EGGERS FILED A 2 PAGE WRITTEN LETTER 

TO PRICB, THOI~AS, & BENTLEY, INFORMING THEM OF THE FACTS, 

REQUESTING A WRITTEN RESPONSE & A COPY OF THB S.O.P. REGULA'TrON, 

HOWEVER,· THEY HAve BEEN NON RESPONSIVE. 

81.            ON 07-05-11, D.C.F. OFFICIALS REMOVED ALL OF THE LAW 

BOOKS FROloi OFF OF THE DEATa ROW HAT...LWAY, DIRECTING JONES NOT 

TO ISSUE ANY LAW BOOKS TO EGGERS & ALL DEATH ROW INr,1ATES, WITHOUT 

JUST CAUSB, DENYING EGGERS ADEQUATE, EFFECTIVE & M.EANINGFUL 

ACCESS TO THE COURT:::;, VIOLATING EGGERS RIGH~rS CONSTITUTING A 

RIGHT TO PETITION THE GOVERNMENT FOR REDRESS OF GRIEVANces, 

DUE PROCESS, & EQUAL PROTECTION VIOLATION UNDER THE 1ST, 5TH, 

& 14'fri. AL'4ENDME:NTS TO THE u.s. CONSTITUTION, Be IN VIOLATION OF 

CLEARLY ES'fABLISriED LAWS AS Dii:TERMINED BY THE UNITED STATES 

SUPREME COURT UNDER BOUNDS V SMITH, 430 US 817. 

82.            JONES HAS REPUSED TO ISSUE LAW BOOKS, ,~ CONDUCT 

NECESSARY RESEARCH, SUCH AS SHEPARDIZING CASES. 

83.            ON 07-21-11, HICKS CONDUCTED A WALK THROUGH, AT WHICH 

TIME EGGERS INFOH.l'/IED HICKS THAT JONES HAD NOT BEEN PE!RtlITTED 

1'0 b;NTER THE DEATH ROw BLOCK FOR 2~ wt!:£I<S. 

84.            EGGERS INFOR~lED HICKS THAT EGGERS HAD PENDING CASES 

& THAT THE LAvl CLEkKWAS STILL NEEDED UNTIL THE COMPUTER SYSTEM 

WAS St.:T UP. 

85.        HICKS AT THAT TIHE AUTHORIZED JONBS 'TO ENTER, SUMt10liING 

JONES, WHO ARRIVED 1fllTHIN ~ tUNUTES, FURTHER INFORMING EGG~RS 

& ALL OTHER DEATH ROW INMATES THAT A COMPUTER SYSTEl-t WAS GOING 

TO BE BR.OUGHT BACK TO THE DEATH ROW UNIT, HOWEVER, HICI<S DID 

NOT KNOw WHEN THAT WOULD BE. 

86.        JONES WOULD PICK UP THE LAW REQUESTS, HOWEVER, NEVER 

RETURN~D WITH THE CASES OR SUPPLIES ON THAT DAY. 


                                    (7) 

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87.       ON 01-41.1" EGG£U wilOTe A J PAGE LETTea TO gRICE,
THOMAS, , iJITLSY, I!u·oaMltfG TnEM 0' THZ fACTS, (U£QUItS'f'ING 1'iiBIR
ASSISTAMCB 1. ASSla_IHO A COMP~CHT LAW CLEaK WHO SHALL 'ILL
BOGeaS t.AN BOOK RIQUESTS a LEGAL aBSKARCH, FURTfUSIl RBQumST1NG
AUTliOItIJA1'IOlf 1'0 HAVE A I.BGAL COMPUTER OO"ATSD TO 'fIlii 08ATii
ROW UNIT, HOWSVBR , THE¥         W~~E    NON R&S9ON91VE.
88.           ON 07-l.-1 "  l-:00ItRS WROTE TO O"IC£R lUtYS, RSQUfi:STING
iiaa l.'O i?9.0VIOe "" ALTBRWATIVI LAW CLE.:RJ:\, 3rsCAiJSB JONSa !liAS m~AaL2:
1'0 rILL TH8 RIQUII$'fS OOfUtBCTLY.
89.             ON 07-25.1"     EGGeas   f1~T   tfITi1 01FICEft !UfYS, ('IRST
NA."lE UN.iL."COWN), AT TilB OIA'1'i1 RO~ UNIT, AT ~utcu TIM!: SaGE.3 &:
OTHU liIHA""S SUBMIfl'BD N£~~ LAYf tU~OUBST FOiU48, WHtCH KEYS STATED
TtlAT SKE WOULO HAYS YILr..eo.
90.        ON 01-28-1" AT 111\10 PM,              J'ON~S   eNTERED 'rae DEATH
tlON UOIIT, GOING OOLY 1'0 ONifl ceLt. a TdElIl RAPtOL¥ Len STATING
THAT as HAD TO GO.
91.         ON 01-28-1"   i::GGiCRS T~fgN FILatO It. ReQUBST SLIP TO "ARDatH
lUCKS, llEQUSSTING HtCKS TO TAKI ACTION RZPLACING JONES.
9.1.        ON 01-29-11, A'r APPltOXtMAT£LY 2100PM, JONKS VIAS ESCORT­
10 'fO TltK DiSATii ROW DOll!; BY CAi'T4IN STERLe, (PIRST MAM! UNKNOWN), 

AT WHICH TIMS Jotfas PROVIOSD LBGAt. SUPPLIES ,. Ot'll: PRnn OUT 

CASI 'ro                DBrnING EGGBRS ACCESS TO LAW BOOKS, a AL.D.O.C.

a.o.,.
lIA~lOW
              ~aal,
             UGULATIOMS, STATING THAT H£ l'lltEO~O WARDEN HICKS AUTHoa­ 

              TO PROVIDS   RSGULATI~~S. 

lil.                         CAPTAIN STSELf; TO Au'raoalze JOr4S::; 

                EGGeaS THIN ASKBO
'10 ,aoVID8 saGaRS WITH A COpy 0' THE aeOUtJ1.TIOHS, aOWBVil:a, CAPT. 

suaLE        INroR~EO   ZGGSitS THA't' JONliCS COUW Oi.'iLY PROVIDE WKAT HICKS
AU1'NOltlZ£O.
94.         ON 08-02-11, EGGt!!RS WAS eSCORTED d¥ OFFICER GROOCE,
(PIRST NAHe UNKNOWN), TO WAaDS,.. HICKS ozr'lCt;, UICItS INTiaROOAT~O
SGGSAS. ASKING WHAT THe paostlt'lll WAS "'Til l'as(,A.W CLi:tU{.
95.        &aQUS AGAIN EXPLAINED WliAT WAS EXpeC1'BO 0,. A LAW
eLBa", AS WARDEN ItlCKS TOLD IGGOS 1'UAT A LAW CLERK DOIS NOT
dAVS TO 00 ANY tt8SilA1lCU roM OEA'ra ROW PRIsoru::as.
96.        IGGlas THL~ R8QUISTED .. COpy 0' THE 8.0.e. R&t:iUt.ATIONS
I1URTAltUNG TO Acess, 'fO THE LAW L(BRAlty, LAW3OQ!(S I 1.'0 TUE
COU14 ts.
       f


91.             HICKS INFURMEO "(.;GIftS THAT TUE RgGUw\TION liAS NOT
GOING TO SAY WHAT OOGUS THOUGHT TaAT IT wOULD SAY. O£NYU4G
SGaIRS A CO,Y OF 1'111 IB:QULATION.
,a.       HICXS INfORMED IGGcas ~UAT A COMPUTER WAS GOING TO
8S PROVIOED TO OIATW ROW TO CONDUCT THmlR OWN RESEARCH, HOWKYIR,
HICKS DID NOT KNOW wamN THE ~.PUTEa WAS GOtNG TO S&COMK AVAILABL
etQa HOW MANY "rIMSS A weeK 0"'-1'8 ROW ~LO a~ PER.MITTID TO U3£
11'.
99.             ON CUI-a.-."   JOHtiSU'BAReo AT1H£ r.U~ATU aow bTaANC~,
AT AP'ROXlMATILt 11.JO'M, GIVING IHMATS JAMES                  YBO~S   A STACK
or LBGAL A£QUIST roaMS TO PASS OUT AMONGST 'fHi!: 'RlSONIR8, STA'l'nro
'fRAT JON&S WOULD RETURN TO         ~lC~    UP TH& REQUESTS ON 08-05-',.
mouaa COMPt.ft80 roMS WCRE a&ADYVOR JONES TO PICK UP.
100.            JONeS DID NOT RllTUiUf ON 08-05-1' 'AILING TO PICK UP
THE LAW QSQUKST roRMS.
101.      0:1 08-0&-1"  e:GG~RS W.tlOT. A lUliwue;ST 'to riARDil:N KICKS
AGAlt. aaQUESTING lucas TO PROVIDE EOGaaS WI'!'a A LAW CLERK.
102.       RGGERS KAS HAD! NUM&',\OUS OTHIll ORAL & VlIUftEN REQUESTS
WilleH ARE troT I.lST20 IN THtS COHPLAIH'r.
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103.       IN JULY OF 2011, AL.D.O.C. OFFICIALS AT D.C.F. BEGAN
TEARING STAMPS & UNITEC STA~ES POSTOFFICB POST MARKINGS FROM
PERSotiAL " LEGAL MAIL ENVELOPES SENT TO EGGERS, DESTROYING
EVIDENCE walCH COULD OTHERWISE BE PRESENTED TO A COURT OF LAW
IN EGGERS PRESENT & FUTURE LEGAL ACTIONS.
'A!!   .1- LEGAL CLAIMS
 104.      THB ARBITRARY TREATMENT or ALABAMA DBATH ROW PRISONERS
 FROM H.C.F. TO D.C.F., GRANTING HOt~N PRISONERS AceBSS TO A
LAW LIBRARY" LAW BOOKS, t.lENYING 'EGGeRS & D.C.F. PRISONERS
THE SAME ACCBSS WITHOUT JUST CAUSB VIOLATES EGGIRS RIGHTS
CONSTITUTING AN EQUAL 9ROT£CTION VIOLATION UNDER THE 14TH
AMENDMENT TO THE u.S. CONSTITUTION.
105.       AL.D.O.C. OFFICIALS ,,,nfI.a TO PROVIDE CONSISTENT
LAW CLBU ASSISTARCE.TO !GGIR.S.HlS.DSNIBD EGGERS ADEQUATE,
EFi'iCTIVE " M8ANINGFUL ACCESS TO THI COURTS, VIOLATING EGGERS
RIGftS, CONSTITUTING A RIGHT TOPftt'1'ION1HE GOVERNMENT FOR
REDRESS or GRIEVANCES, DUE PROCESS, a EQUAL PROTECTION VIOLATIONS
UNDER THE 1ST, 5TH, & 14TH AMIWDMBNTS TO THE u.S. CONSTITUTION.
106.       AL.D.O.C. OFFICIALS ARBITRARILY REMOVING LAW BOOKS
'ROM THE DEATH ROW DAY ROOM ARiA, & LIAVING VOLUMINOUS OTHER
GENBRAL PUBLICAT!ONS DENIESBG<;aRS & OTHER DEATH ROW INMATES
ACCESS TO THE LAW BOOKS & THE COURTS VIOLATING EGGERS RIGHTS
CQNSTI~UTING A RIGHT TO PETITION, DUE PROCESS & EQUAL PROTECTION
VIOLATION UNDER THE 1ST, 5TH, & 14TH AMENDMENTS TO THE U.s.
CONSTITUTIQN.
 101.      AL.D.O.C. OFFICIALS FAILING TO MAINTAIN LAW BOOK
PUBLICATIONS WITH CURRENT UP ~ DATE POCKET PARTS, & CUMMOLATIVE
SUPPLSMENTS HAS DENIED EGGERS' ADEQUATE, EFFECTIVE & MEANINGFUL
ACCESS TO THB COURTS VIOLATING EGGERS RIGHTS, CONSTITUTING RIGHT
TO PETITION, DUI PROCESS & EQUAL PROTECTION VIOLATIONS UNDER
THE 1ST, 5TH, & 14TH AMENDMENTS TO THE o.s. CONSTITUTION.
 108.      AL.D.O.C. OFFICIALS ARBITRARILY DENYING EGGERS ACCESS
TO US£ TYPEWRITERS & RIBBONS OTHBaWISE AVAILABLE TO ALL OTHER
PRISONERS NOT UNDER A SENTENCI or DEATH, VIOLATED EGGERS RIGHTS
CONSTITuTING AN EQUAL· PROTECTION VIOLATION UNDER THE 14TH
AMUDUNT TO THE u.s. CONSTITUTION.
109.       AL.C.O.C. OFFICIALS DINYING EGGERS ACCESS TO USB AL.D.
O.C. TYPEWRITERS & RIBBONS, DENIED EGGlas ADEQUATE, EFFECTIViC,
i MEANINGFUL ACCESS TO THE COURTS, VIOLATING EGGERS RIGHTS
CONSTITUTING A RIGHT TO PETITION, DUE PROCESS & EQUAL PROTECTION
VIOLATION UNDER THE 1ST, 5TH, " 14TH AMENDMENTS TO THE U.s.
CONSTITUTION.
110.       AL.C.O.C. OfFICIALS ARBITRARY REFUSAL TO RIMOVE EGGERS
RESTRAINTS DUBING A CRITICAL LAWYER MIBTltiG ON 05-04..11 VIOLATID
EGGERS RIGHTS CONSTITUTING AN EQUAL PROTECTION VIOLATION UNDER
THE 14TH AMENDMENT TO THE u.S. COMSTITUTION.
111.       AL.D.O.C. OFFICIALS DESTROYING EGGERS PERSONAL
POS~BSSIONS , LEGAL DOCUMENTATION WHICH EGGERS WAS AUTHORIZED
TO RBCIIVI REGARDING PENDING CABIS WITHOUT JUSTIFIABLE CAUSE
VIOI,ATBS £GGUS RIHGTS CONSTITUTING AN EQUAL PROTECTION VI.OLA'fION
UNDER THE 14TH AMENDMBNT TO THE U. s. CONSTITUTION.
112.       AL.D.O.C. OFFICIALS ARBITRARILY DENYING IGGERS ACCESS
TO AL.D.O.C. ADMINISTRATIVE REGULATIONS NECESSARY TO PROPERLY
& EPPECTIVELY BRING LEGAL ACTION AGAINST SAID STATE OFFICIALS

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AND SX!iAUS1' ANY' ALL AVAlttMU..e: AOMltUSTilATlV£ RIMBOliiS IN oaOf;a
TO INSUla THAT nAT8 OP'ICIALS iU£'ft6SiiUfTING "fHB AL.O.O.C. ARe
NOT 8JU?01UIU 'to CIVIL PQOSSCU'l'lON VIOLA"KO !:GGERS RIGnTS
CONSTITUTING A RIGHT 1'0 PftlTION 'fHI! OOVSRNMBNT PO. Rli:DRESS
0' GatBVA1-.ce8, 00£ 'itOC8S.r; , EiJUAL paOl'HCTION V10LATIOl'l UNot;R
TaB 181', 5TH, A 14TH A."8NOM~"S 1'0 TKK u.s. CONSTITUTION.
111.       At..O.O.c. O'PICiAr..8 OSNYIWG OO(iEaa ACCt:!S5 1'0 LAW BOOKS, 

CAS. CITATIONS, • OTli£R blOAt. NftI1'TSN AUTaORITIES NEC8SSAiU' 

i'OR   COMP&TBNT aaseARCH Oi' 'PH! LAW, HAS 08NIBO IGGERS AOEQUATB, 

            a MnNINGPOt. ACCESS 'ro TNt; COURTS VIOt.A'tltfG EGG!R3 

t:P'i:K11'lVS,
iUGU1'S CONS1'ITtrl'ING A RIGHT 1'0 lrfSTITtON, DUE PROCISS & EQUAL 

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Tal u.s. COHSTI'fOTIvN. 

114.      AL.O.O.C. OF'lCIALS REMOVING                       u.s.    POST MAAKS FaOr..il 

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ACTIOtfS VIOLA'liNG BaGaRS KIGHTS CONSTITO'ftNG A RIGHT 1'0 peTl'tION, 

008 nOCIS8 , SQUAt. PIOT&CTION vtOLA'l10H UNOSit TiUt 151' f 5TH, 

, 14TH MBNOM£N'fS TO THE: u.s. CONITtTUTIOK'f. 

11 &.      l?E,AINTli'f' iH~Ar..(.,.oofSa • INCORPORATES PAltAGRAPHS 1-10J. 

116.             IGGERS HAS NO      ~LAI~ AU~QUATB,           OR COMPLeTE RIMBOY AT
LAW TO aSOBBBS fHa WtWNG!9 08SCitUUSfJ lisallN. IGGB1lS , OTHE:aS
SIMILARLY 'ITUAT~O SHALL CONTl~U8 TO 88 IRRePARABLY INJU~~D
aJ "ftlS CO.OUCT OP TK& OerPDANTS UNLESS 'fdI' COURT GaAtU'S THS
OIC1tAaATOitY .. Il'fJUNC'I'lV8 RiSLli!'- WIIlCH Boosas SI£KS.




111.       WiU:REroW.., KYGSR. Ru,ecrrUltLY PAA)!S 'tHAT TntS COURT
SiiALL aNTEa JUOOiM&Nl' GRAftIi4G SGGIiUUU
l1D.       A DSCLARATION THAT THE AC"fS .. ()HISSIONS OMCiUiutu
a6'U~ IN VIOLATED BGGeRS RIGH'fS ijNl)~a Ttii CONSTITUTION 6 '1'H8
LAWS   or   THa    U~ITeD      STATES.
',8.             A pam..IMINARY &        J?~j.(~A~"'~NT   UUUNCTION OROBRUIQ 'l1Ut
DSJrJ£NOANTS TO.
                A) PROVIO£ D.C.!'. O&A1'H ROWltU\AT£S , EGGeRS,
WITH ADIQUATB. IU'f~C'lI\TE .. MEAfUNG'OL ACC8SB 1'0 Tftti: COURTS IN
Ac<:oao WITH eXIS'rlNG LA~lg. IlieLtiOING, aorAavaR, NOT LIMITED TOI
                                1) Access TO A FULLY STOCKEO LAW LIBRARY,
LAW 800KS, COMPUTER, CURRENT CASE CITATIONS, 4 HOWlS !ACHOA:l,
1'llIt.&1: DAYS itACtl WE&K,
                           11) ACC;:;9S TO lit COMPiTEl'iT rAW C!t£RKS
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                           111) PJ&t'lMIT Ir~~A'ta5 WtfO UAVIt DBMONftaATRO
RU90tISlJ3r.,8 Sl£liAVIOR, T<) CHiCK LAW BOOKS au'l', TO KEEP I MAINTAIN
It~ THIIA C!LL~ WHlt.~ REseARCHING 15,sU!S loa UP TO TWO DAYS AT
A 1.'Ut., iiU83£CTED 'tv SE CHECKeD 001' "GAlt',
                           1v) AceliS:; TO A rOttLY ii'UtfCTIONAL 'rYp~ WQITER
i TyglHG RIaSONS, " HOUKS &ACH DAY, 3 DAYS BACH WgEK,
                           v.U ACCiS£JS TO LIGAL SU'PT... IES, CONSISTING
O#' PA?SR, LSGAL       ~N\f~l,,09r;S,     PENCILS, CARSON           ~A'ER,   .. N01'a\RY
SliilVIC&S AT L&AST 1 'fIMf;         ~A.Cii    liEEK
                      s) aeMOVC SGGEaS            R!sTQAl~TS        DURING LAWYER VISITS,
Ii' ACCOHPA'UED       U~   A   stGN~D~'lAIVER a~          AnoR~.£Y,     OR Ili THIS AIiftlRW­


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ATIV~     HAVE     THE       VISIT      CO~DUC~~O t~    A    G~SS S~9~ATSO S8T~lNG,
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119. 	      A .JURY 'r~tAL UPOLl .\!..L 'l'!UA3£.6 tSSt1~s.
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